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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION


UNITED STATES OF AMERICA

         vs                          4:04CR00169-19-WRW

KEITH DESMOND HOLMES


                               AMENDED AND SUBSTITUTED
                              JUDGMENT AND COMMITMENT

         The above entitled cause came on for a hearing on the petition to revoke the supervised

release granted this defendant. Upon the basis of the evidence presented, the Court found that the

defendant did violate conditions of his supervised release without just cause.

         IT IS THEREFORE ORDERED AND ADJUDGED that the supervised release granted this

defendant be, and it is hereby, REVOKED.

         The defendant is sentenced to a period of 10 Months at a designated Bureau of Prisons

correctional facility. The defendant is to participate in residential substance abuse treatment and

mental health counseling during incarceration.       There is no supervised release to follow

incarceration. The defendant is remanded into the custody of the U.S. Marshal.

         IT IS SO ORDERED this 30th day of April, 2008.




                                                           /s/Wm. R. Wilson, Jr.
                                                     UNITED STATES DISTRICT JUDGE




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